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MAND. GR Mui Oie 2 RICT LITIGATION

In re Commonwealth Edison Company Coal Contract Litigation

 

 

 

 

MOTION, BRIEF, SCHEDULE, EXHIBITS, CERTIFICATE OF SERVICE
_ (A-1 - A-7) -- Commonwealth Edison Company -- SUGGESTED
' TRANSFEREE DISTRICT: NORTHERN DISTRICT OF ILLINOIS (eds)

/HEARING ORDER -- Setting motion to transfer for Panel Hearing
: on March 28, 1985 in Los Angeles, Calif. (emh)

- APPEARANCE: DONALD S. YOUNG, ESQ. for Black Butte Coal Co.,
| Big Horn Coal Co., and Decker Coal Co. (cds)

' APPEARANCE -- PAUL W. SCHROEDER, ESQ. for Commonwealth Edison
Co. (ds }

| RESPONSE -- Defts. Decker Coal Co., Black Butte Co. and Big
Horn Coal Co. w/cert. of svc. (ds)

REPLY BRIEF -- Commonwealth Edison Co. w/cert. of sve. (ds)

AFFIDAVIT OF PAUL W. SCHROEDER -- filed by Paul W. Schroeder,

_Esq., counsel for Commonwealth Edison Co. w/cert. of svc.
. (ds)

HEARING APPEARANCES: PAUL W. SCHROEDER, ESQ. for Commonwealth
Edison Co.; DEREK I. MEIER or DONALD S. YOUNG, ESQ. for Black
.Butte Coal Co., Big Horn Coal Co. and Decker Coal Co. (rh)

ORDER DENYING LITIGATION -- pursuant to 28 U.S.C. §1407.

‘Notified involved clerks, judges, counsel and misc.
‘recipients. (ds)

 
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Revised: 8/78 .
ns DOCKET NO. 636 -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

CAPTION: In re Commonwealth Edison Company Coal Contract Litigation

 

 

SUMMARY OF LITIGATION

 

Hearing Dates Orders , Transferee
3/28/85

 

Dates Filed Type Citation . District | Name of Judge

Assigned From

 

 

4/10/85 MO Unpublished

 

 

 

Special Transferee Information

DATE CLOSED:

April 10, 1985

 
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JPML FORM 1 LISTING OF INVOLVE

DOCKET NO. _636) —7 In re Commonwealth Edison Company-Coal Contract Liti gation

 

 

Intra— District Civil TransferedDate of
Office and Action Transfer; Docket Dismissal
Number Caption Judge Number Date Number jor Remand

 

Commonwealth Edison Company v. Black Butte N.D.I11. | 85 C 0974
Coal Company Marshall

Decker Coal Company v. Commonwealth Edison D.Montana] CV-84-279-BLG
Company Battin

Black Butte Coal Company v. Commomwealth D.Wyoming} C84-0462
Edison Company Brimmer

Big Horn Coal Company v. Commonwealth Edison | D.Wyoming] C84-0463
Company Brinmmer

Decker Coal Company v. Commonwealth Edison D.Montana] CV-84-—3-BLG
Company Battin

Black Butte Coal Company v. Commonwealth D.Wyoming] C84-0004
Edison Company Brimmer

9/25/55

Big Horn Coal Company v. Commonwealth D.Wyoming| C84-0005
Edison Company Brimmer

 

 

 

 

 

 

 

 
 

JPML Form 4

  

ATTORNEY SERVICE LIST
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 636 77

In re Commonwealth Edison Company Coal Contract Litigation

 

 

 

COMMONWEALTH EDISON COMPANY (A-1)
(also a defendant in A-2 - A-7)

Paul W. Schroeder, Esq.
Isham, Lincoln & Beale
Three First National Plaza
Chicago, Illinois 60602

 

BLACK BUTTE COAL COMPANY
BIG HORN COAL COMPANY
DECKER COAL COMPANY
Donald S. Young, Esq.
Dykema, Gossett, Spencer,
Goodnow & Trigg
35th Floor, 400 Renaissance Center
Detroit, Michigan 48243

 
 

JPML FORM 3
Pp.

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 636 -- In re Commonwealth Edison Company Coal Contract Litigation

Name of Par Named as Party in Following Actions

COMMONWEALTH EDISON CO.

BLACK BUTTE COAL CO.

 
